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  2 Including Professional Corporations
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 11 Attorneys for Plaintiff,
    MUFG UNION BANK, N.A.
 12
                            UNITED STATES BANKRUPTCY COURT
 13
                             NORTHERN DISTRICT OF CALIFORNIA
 14
                                    SAN JOSE DIVISION
 15
    In re                                    Case No. 15-50801
 16
    ROBERT BROWER, SR.,                      Chapter 11
 17
                         Debtor.
 18
 19 MUFG UNION BANK, N.A.,                     Adv. Proc. No. 17-05044

 20                   Plaintiff,               STIPULATION TO EXTEND THE
           v.                                  DISCOVERY CUT-OFF
 21
      ROBERT BROWER, SR., an individual,
 22   PATRICIA BROWER, an individual,
      COASTAL CYPRESS CORPORATION,
 23   a California corporation, COASTAL
      CYPRESS CORPORATION, a Delaware
 24   corporation, AMERICAN
      COMMERCIAL PROPERTIES, INC., a
 25   Nevada corporation, ANTHONY
      NOBLES, an individual, WILFRED
 26   “BUTCH” LINDLEY, an individual,
      RICHARD BABCOCK, an individual,
 27   PATRICIA BROWER TRUST, and DOES
      1-50,
 28                        Defendants.

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      17-05044 Doc# 101   Filed: 01/31/19   Entered: 01/31/19 15:24:06
                                                        STIPULATION      Page 1 ofCUT-OFF
                                                                    RE DISCOVERY   4
  1           The parties hereby submit the following stipulation:
  2           WHEREAS, pursuant to the Court’s order dated November 28, 2018 (Doc# 100), the
  3 discovery cut-off in the above-entitled adversary proceeding is currently February 25, 2019
  4 and a status conference is set for March 13, 2019 at 10:00 a.m.;
  5           WHEREAS, no motion cut-off or trial date has been set;
  6           WHEREAS, plaintiff MUFG Union Bank, N.A. (“Plaintiff”) has sought discovery
  7 from the various defendants as well as various third parties;
  8           WHEREAS, Plaintiff has previously-noticed the depositions of defendants Robert
  9 Brower, Sr., Patricia Brower, the Patricia Brower Trust, American Commercial Properties,
 10 Inc., and Coastal Cypress Corporation on a number of occasions and most recently for
 11 January 28 and 29, 2019;
 12           WHEREAS, defendant Robert Brower, Sr. (who will also be the FRCP 30(b)(6)
 13 designee for Coastal Cypress Corporation) represents that he has begun a new, every-other-
 14 week chemotherapy regimen to address his pancreatic cancer, necessitating a further delay of
 15 the depositions until February 7 and 8, 2019;
 16           WHEREAS, defendant Patricia Brower (who contends she is the only individual
 17 capable of testifying as the FRCP 30(b)(6) designee for defendants American Commercial
 18 Properties, Inc. and the Patricia Brower Trust) contends that she should be exempted from
 19 sitting for a deposition in light of her medical condition and the parties are in the process of
 20 meeting and conferring re whether a stipulation can be reached to obviate the need for
 21 depositions of Mrs. Brower, American Commercial Properties, Inc. and the Patricia Brower
 22 Trust;
 23           WHEREAS, Plaintiff does not waive any rights with respect to the depositions of
 24 Robert Brower, Sr., Patricia Brower, the Patricia Brower Trust, American Commercial
 25 Properties, Inc., and Coastal Cypress Corporation, but is willing to accommodate Mr.
 26 Brower’s medical treatment schedule and is willing to further meet and confer regarding Ms.
 27 Brower’s deposition in a good faith effort to avoid further discovery motion practice;
 28
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  1           WHEREAS, counsel for Richard Babcock and Anthony Nobles suspended Mr.
  2 Nobles’ deposition on January 25, 2019 to further investigate an issue raised by Mr. Nobles
  3 during the course of his deposition;
  4           WHEREAS, counsel for Messrs. Babcock and Nobles stated at the deposition that
  5 they would investigate the matter alluded to above over the next ten (10) calendar days and
  6 get back to counsel for the other parties re how they intend to proceed;
  7           WHEREAS, Plaintiff does not waive any rights with respect to the deposition of Mr.
  8 Nobles and does not concede that the deposition was appropriately suspended or that the
  9 issue that prompted suspension of the deposition is, in fact, legitimate;
 10           NOW, THEREFORE, the parties, by through their counsel of record, hereby
 11 STIPULATE as follows:
 12           1.         The discovery cut-off shall be extended to March 25, 2019; and
 13           2.         The status conference currently set for March 13, 2019, shall be continued to
 14 April 8, 2019 at 10:00 a.m. or such other date and time thereafter as the Court may determine
 15 in accordance with its availability.
 16           IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
 17
 18 Dated: January 28, 2019
 19                                         SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
 20
 21                                         By:                /s/ Isaiah Z. Weedn
                                                               ISAIAH Z. WEEDN
 22                                                           MICHAEL M. LAUTER
                                                              Counsel for the Plaintiff,
 23                                                          MUFG UNION BANK, N.A.
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 26
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 28
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  1 Dated: January 28, 2019
  2                                        L+G, LLP
  3
  4                                        By                      /s/ David W. Balch
  5                                                               DAVID W. BALCH
                                                           Attorneys for COASTAL CYPRESS
  6                                                     CORPORATION, a California corporation,
  7                                                     COASTAL CYPRESS CORPORATION, a
                                                       Delaware corporation, PATRICIA BROWER,
  8                                                    AMERICAN COMMERCIAL PROPERTIES,
                                                      INC., WILFRED “BUTCH” LINDLEY, and the
  9
                                                             PATRICIA BROWER TRUST
 10
      Dated: January 31, 2019
 11
                                           JAURIGUE LAW GROUP
 12
 13
 14                                        By                      /s/ Ryan A. Stubbe
                                                               MICHAEL J. JAURIGUE
 15                                                               RYAN A. STUBBE
 16                                                      Attorneys for ROBERT BROWER, SR.

 17 Dated: January 31, 2019
 18                                        SAMINI SCHEINBERG, PC
 19
 20                                        By                       /s/ Babak Samini
 21                                                                 BABAK SAMINI
                                                                  NICOLE C. PRADO
 22                                                     Attorneys for RICHARD BABCOCK and
 23                                                              ANTHONY NOBLES

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      SMRH:489279477.1
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